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                            LTNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                        CNIL ACTION NO.     4:   l9-cv-1 1093TSH


 PAUL JONES,
      Plaintiff
                                                        DEFENDANTS MONTACHUSETT
                                                        REGIONAL TRANSIT AUTHORITY,
 MONTACHUSETT REGIONAL TRANSIT                          REBECCA BADGLEY, DONNA
 AUTHORITY, HB SOFTWARE                                 LANDRY, BONNIE MAHONEY,
 SOLUTIONS, INC, REBECCA BADGLEY,                       KAREN CORDIO, JOANNE NORRIS,
 DONNA LANDRY, BONNIE MAHONEY,                          STEPHANIE RICHARDS, TAMARA
 KAREN CORDIO, JOANNE NORRIS,                           SHUMOVSKAYA, JES SICA TORRES,
 STEPHANIE RICHARDS, TAMARA                             AMANDA KUKTA, ROBERT MONK,
 SHUMOVSKAYA, JES SICA TORRES,                          MICHELLE MOYO, IVAN ROMAN and
 AMANDA KUKTA, ROBERT MONK,                             CRYSTAL GEISERT'S OPPOSITION
 MICHELLE MOYO, IVAN ROMAN,                             TO PLAINTIFF'S REQUEST FOR
 CRYSTAL GEISERT, JANE DOE ANd JOHN                     JUDICIAL NOTICE
 DOE,
        Defendants



       Defendants Montachusett Regional Transit Authority ("MART"), Rebecca Badgley,

Donna Landry, Bonnie Mahoney, Karen Cordio, Joanne Norris, Stephanie Richards, Tamarc

Shumovskaya, Jessica Torres, Amanda Kukta, Robert Monk, Michelle Moyo, Ivan Roman, and

Crystal Geisert, hereby oppose Plaintiffls Request for Judicial Notice.

       Plaintiff, Paul Jones ("Plaintiff') is the Director and is an employee of Commonwealth

Community Recovery Division, Inc. ("CCRD"). CCRD has a contract with Defendant MART to

provide transportation services for MART's operating company, providing services to the

EOHHS. In his Verified Amended Complaint ("Complaint"), Plaintiff alleges that Defendants

MART, Rebecca Badgley, Donna Landry, Bonnie Mahoney, Karen Cordio, Joanne Norris,

Stephanie Richards, Tamara Shumovskaya, Jessica Torres, Amanda Kukta, Robert Monk,

Michelle Moyo, Ivan Roman, and Crystal Geisert, all either current or former MART employees
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(collectively "MART Defendants") violated the Telephone Consumer Practices Act, 47 U.S.C.,

5 227   ("TCPA") by calling his cellphone many times using an automatic telephone dialing

system (Counts I and   II).   In addition, Plaintiff alleges that the MART Defendants discriminated

against him on the basis of his race and/or membership in another protected class, in violation of

Title VI (Counr VII), Title VII of the Civil Rights Act of 1964 (Counts III, V, and VI), and G.L.

c. 15lB (Count   VIII). Finally, Plaintiff   brings a claim for intentional infliction of emotional

distress against the individual MART Defendants.

         On August 8,2079,the MART Defendants filed a Motion to Dismiss Plaintiff               s



Complaint. Plaintiff filed his Opposition to the MART Defendants' Motion to Dismiss on

September 11,2019. A hearing on Defendant's Motion to Dismiss has not yet been scheduled.

Plaintiff has now filed a Request for Judicial Notice pursuant to Rule 201(b) of the Federal Rules

of Civil Procedure. In his Request for Judicial Notice, Plaintiff seeks to have this Court take

judicial notice that "Defendants Are Still Exerting Daily Control over Plaintiff' and take judicial

notice of a series of documents concerning prosecution of former MART employees in 2010'

The MART Defendants object to Plaintiff s Motion/Request For Judicial Notice as the facts

about which Plaintiff seeks to have the Court take judicial notice are not the type the Court can

accurately and readily determine from sources whose accuracy cannot reasonably be questioned

as required by Rule 201(b)     (2), and even if they were, Plaintiff has not provided the Court with

the necessary information for the Court to take judicial notice as required by Rule 201(c) (2).

Regardless, at least as regards the   Plaintiff   s second request, the information the   Plaintiff seeks to

have the Court take   judicial notice of is not relevant to Plaintiff   s Complaint.


         First Plaintiff seeks to have the Court take judicial notice that the MART Defendants are

"still exerting control over plaintiff'   and points to a mistake made by a    MART employee in



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placing a trip in Plaintiffs' portal. MART Defendants do not dispute that since Plaintiff is an

employee of a MART vendor, MART does interact with Plaintiff. However, the MART

Defendants dispute Plaintiff s interpretation of that interaction which Plaintiff would like this

Court to find makes him an "employee" of MART' not an employee of a MART vendor.

Plaintiff   s assertion that he is an employee       of MART because he necessarily has to interact with

MART employees is not the type of fact upon which a Court can properly take judicial notice

and is in fact, one basis for the   MART Defendant's Motion to Dismiss. The fact, Plaintiff           s

                                                             o'employee" of MART, is not
belief that his interaction with MART employees makes him an

supported by the email documentation attached to Plaintifls Motion/Request for Judicial Notice,

and the allegations contained in     Plaintiff   s   own Complaint defeat his interpretation of the facts.

As such, the Court cannot properly take judicial notice of Plaintifls assertion that the MART

Defendants "Are Still Exerting Daily Control over            Plaintiff in the context in which Plaintiff

seeks to have this Court interpret his interactions        with the MART Defendants.

        The Court should also not take judicial notice of Plaintiff s assertion that the Attorney

General indicted three of Defendant MART employees for kickback scheme. First, Plaintiff

supports his request by attaching a newspaper article about the indictments that occurred in 2010,

without providing any Court documentation about whether any of the individuals indicted were

in fact convicted or pled guilty to the charges. Regardless, the 2010 incidents have nothing

whatsoever to do with Plaintiff and the allegations made by Plaintiff in his Complaint. The

remainder of what Plaintiff seeks to have this Court take judicial notice of are printouts from the

Secretary of States website containing information about various corporate entities that have no

relevance to Plaintiff s Complaint.
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          Wherefore, the MART Defendants respectfully request that this honorable Court deny

Plaintiffls Motion/Request for judicial notice and request that the Court schedule   a hearing on


the MART Defendants' Motion to Dismiss Plaintiff s Complaint.




                                                     DEFENDANTS

                                                     MONTACHUSETT REGIONAL TRANSIT
                                                     AUTHORITY, REBECCA BADGLEY,
                                                     DONNA LANDRY, BONNIE MAHONEY,
                                                     KAREN CORDIO, JOANNE NORRIS,
                                                     STEPHANIE RICHARDS, TAMARA
                                                     SHUMOVSKAYA, JESSICA TORRES,
                                                     AMANDA KUKTA, ROBERT MONK,
                                                     MICHELLE MOYO, IVAN ROMAN, and
                                                     CRYSTAL GEISERT

                                                     By their attomeys,


                                                     /s/>eboral^ l. E ola p.v'
                                                     Mark R. Reich (BBO# 553212)
                                                     Deborah I. Ecker (BBO# 554623)
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                                 CERTIFICA TE OF SERVICE

       I, Deborah I. Ecker certi$/ that the above document will be served by first-class mail

upon any party or counsel of record who is not a registered participant of the Court's ECF

system, upon notification by the Court of those individuals who   will not be served electronically.


Date: October 4,2019                                /s/ >eboral^ l. Vcf?,eY




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